

Matter of Ikram B. v Abdelkader B.-B (2023 NY Slip Op 01938)





Matter of Ikram B. v Abdelkader B.-B


2023 NY Slip Op 01938


Decided on April 13, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2023

Before: Renwick, A.P.J., Moulton, Shulman, Rodriguez, Pitt-Burke, JJ. 


 Docket No. 0-28952/17 Appeal No. 29 Case No. 2021-03729 

[*1]In the Matter of Ikram B., Petitioner-Respondent,
vAbdelkader B.-B, Respondent-Appellant. 


Carol L. Kahn, New York, for appellant.
Law Office of Randall S. Carmel, Jericho (Randall S. Carmel of counsel), for respondent.



Order, Family Court, New York County (Stephanie Schwartz, Ref.), entered on or about October 5, 2021, which, after a traverse hearing, denied respondent husband's motion to vacate a five-year order of protection on behalf of the wife that was entered on default, unanimously affirmed, without costs.
The husband's claim of denial of due process is improperly raised for the first time on appeal and is unpreserved for review (see Matter of Rickelme Alfredo B. [Ricardo Alfred B.], 132 AD3d 490, 490 [1st Dept 2015]). In any event, the matter was rendered moot when the court appointed him an attorney at a subsequent appearance. The attorney was present with the husband for all proceedings thereafter, and thus the husband received the benefit of counsel, as was his right (see Matter of Delafrange v Delafrange, 24 AD3d 1044, 1046 [3d Dept 2005], lv denied 8 NY3d 809 [2007]).
The record reflects that the wife met her burden of demonstrating by a preponderance of the evidence that she properly effectuated substitute service of the order of protection on the husband (see Matter of Solangee Z. v Kahir E., 107 AD3d 428 [1st Dept 2013]).
We have considered the husband's remaining contentions and find them unpreserved and unavailing. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2023








